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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NUMBER 08-10021-RGS
STEPHEN J. GOODMAN
Vv.
DAVID E. BELFORT
SPECIAL QUESTIONS TO THE JURY
August 5, 2010
STEARNS, D J.

Q.1.  Indischarging his duties to his client Stephen Goodman, did David Belfort fail
to exercise the care and skill of the average qualified attorney practicing in Massachusetts
at the time the services were rendered?

Al. Yes

No_v¥

If your answer to Q.1 is “No,” proceed to Q.3. If your answer to Q.1. is “Yes,” please
answer Q.2.

Q.2. Was the failure of David Belfort to exercise the appropriate level of care and
skill a proximate (substantial) cause of injury to Stephen Goodman?

A.2. Yes

No

If the answer to Q. 2. is “No,” please answer Q.3. If the answer is “Yes,” proceed

to Q.5.

Q.3. Is Stephen Goodman liable to David Belfort and his law firm for unpaid legal
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bees?
A3. Yes
No
If the answer is “Yes,” piease proceed to Q.4. If the answer is “No,” please answer
Q.5,
Q.4. What sum of money does the jury award David Belfort and his firm in unpaid

legal bills?

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"(Dollar Amount in Words)

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(Figures)

 

 

Q.5. What amount of money do you find to be fair and reasonable compensation
to Stephen Goodman for any damages caused by David Belfort?

A.5.

 

(Dollar Amount in Words)

 

(Figures)

| certify that the foregoing answers are the unanimous verdict of the jury.

Forepefson

Dated: #~5- JO.
